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PROCEEDING HEARING DATES

Voir Dire

Opening Statement (Plaintiff)

Opening Statement (Defendant)

Closing Argument (Plaintiff)

Closing Argument (Defendant)

Opinion of Court

Jury Instructions

Sentencing,

Bail Hearing

Pre-Trial Proceedings (snectfy)
Testimony (specify) Getf-O& - P-/3-Ob

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Closing Argument (Plaintiff)

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Opinion of Court

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Opinion of Court

Jury Instructions

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